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                                                                           UNITED STATFS DISI-I?ICT COUHT
                            IN THE UNITED STATES DISTRICT COURT ALBt.t(".tJ[fii)UE, t.Ii:_r,," ,i,E)r,iCO

                                FoR rHE DrSrRrCr OF NEw        MExrco                Dtc I 2 2023
                                                                                                    \A)
UNITED STATES OF                AMERICA,                                       NfiITCHELL R. ELFERS
                                                                                      CLERK
                   Plaintiff,

vs.                                                                           No. CR 22'0634 JB

ROBERT PADILLA
and GARY COCA,

                   Defendants.

                                              VERDICT

COUNT 1
        WE, the Jury, find the defendant ROBERT PADILL         A,, 6", l-ff
                                                                   (guilty or not'guilty)
of violent crimes in aid of racketeering in the murder of Leroy Lucero as charged in Count I of

the Indictrnent.

        Only if you unanimously answer the prior question guilty, answer one of the next two

questions. If you answer not guilty, go to Count 2.

            a. Does the Jury turanimously find that the government has proved the fourth element
                   of Count 1 by showing beyond a reasonable doubt that the defendant, Robert

                   Padilla, committed first degree murder?
                                 "ilNo
If you agree that the defendant, Robert Padilla, committed first degree murder go to Count 2, If

you do not agree that Mr. Padilla committed first degree murder, go to question b.

            b. Does the Jury unanimously find that the government has proved the fourth element
                   of Count 1 by showing beyond a reasonable doubt that the defendant, Robert

                   Padilla, committed second degree murder?
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                               YES                    NO

COI'NT 2
       WE, the Jury, find the defendant ROBERT PADILLA               6o, bY
                                                                      (guilty olnot guilty)
of retaliation against a witness, victim, or informant as charged in Count 2 of the Indictment.

COUNT 3
       WE, the Jury, find the defendant ROBERT PADILLA                4a'L-y
                                                                    (euilty or hot guilty)
of killing while engaged in drug trafficking as charged in Count 3 of the Indictment.

COUNT 4
       WE, the Jury, find the defendant ROBERT PADILLA, 6a,                 lry
                                                                  @
of using, carrying, possessing in furtherance of, and discharging a firearm during and in relation

to, a crime of violence or drug trafficking crime and causing death through use of the firearm as

charged in Count 4 of the Indictment.

       Only if you unanimously answer the prior question guilty, answer both of the next two

questions. If you answer not guilty, go to Count 5.

           a. Does the Jury unanimously find ftat the government has proved the third element
               of Count 4 by showing beyond a reasonable doubt that the defendant, Robert

               Padilla, used, or possessed a firearm in relation to, or in furtherance of, a drug

              trafficking crime?

                                                      NO

           b. Does the Jury unanimously find that the govemment has proved the third element
              of Count 4 by showing beyond a reasonable doubt that the defendant, Robert

              Padilla, used, or possessed a firearm in relation to, or in furtherance of, a crime of

              violence?
                            _/-.::=--\
                               YESLNO
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COUNT 5
        WE, the Jury, find the defendant ROBERT      PADILLA, Odr ' /-r'r
                                                                   (guilty or not guilty)
of ampering with a witness, victim or informant by physical force or threat as charged in Count 5

of the Indictment.

COUNT 6
       WE, the Jury, find the defendant ROBERT PADILLA,              4r<, l-ry
                                                                    (euilty or not guilty)
of conspiracy as charged in Count 6 of the Indictment.

COUNT 7
       WE, the Jury, find the defendant ROBERT PADILLA          , Ou, If y
                                                                    (guilty or not guilty)
of possession with intent to distribute buprenorphine as charged in Count 7 of the Indicbnent.

COUNT 8
       WE, the Jury, find the defendant ROBERT PADILLA, (Au t /             ry
                                                                 @
of possession of contraband in prison as charged in Count 8 of the lndictment.

       Dated this    4_day of December,}l23.




                                                                                  FOREPERSON
